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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


CHASE MULLINS                                                                        PLAINTIFF
ADC #176271

v.                                    No: 4:20-cv-01131-LPR


BILL GILKY                                                                         DEFENDANT


                                              ORDER

       The Court has reviewed the Proposed Findings and Recommendation submitted by United

States Magistrate Judge Patricia S. Harris. (Doc. 7). No objections have been filed. After a careful

and de novo review of the Proposed Findings and Recommendation and record, the Court

concludes that the Proposed Findings and Recommendation should be, and hereby are, approved

and adopted in their entirety as this Court’s findings in all respects.

       IT IS THEREFORE ORDERED THAT Mullins’ complaint (Doc. No. 1) is dismissed

without prejudice.

       Dated this 28th day of April 2021.



                                                       ________________________________
                                                       LEE P. RUDOFSKY
                                                       UNITED STATES DISTRICT JUDGE
